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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

STATE OF KANSAS, ex rel.,
KRIS W. KOBACH, AG,                                  )
                                                     )
                              Plaintiff,             )
                                                     )       CASE NO. 5:23-cv-04116
v.                                                   )
                                                     )
MACQUARIE ENERGY LLC,                                )
                                                     )
                              Defendant.             )

                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to FED. R. CIV. P. 41 (a)(1)(ii), Plaintiff State of Kansas and Defendant Macquarie

Energy LLC hereby stipulate to a dismissal with prejudice of all claims asserted in the above-

captioned action, each party to bear its own attorney fees and costs.


Dated: February 10, 2025                                                Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on February 10, 2025, a true and correct copy of the

above and foregoing was e-filed with the Court’s CM/ECF electronic filing system, which

provided notice to all parties who have entered an appearance in this action.


                                                       /s/ Jonathan Musch




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